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                                          EVIDENCE OF TRANSFER OF CLAIM

           TO: Clerk, United States Bankruptcy Court, District of Delaware
                          (with Unique Customer Code: 00282817 and FTX Account ID 4565746) (“Seller”), for good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged and pursuant to the terms of an
Assignment of Claim dated as of the date hereof, does hereby certify that it has unconditionally and irrevocably sold, transferred
and assigned to 117 Partners LLC (“Buyer”), 100% of all Seller’s right, title and interest in and to the claims of Seller against
FTX Trading Ltd. in the bankruptcy case entitled In re: FTX Trading Ltd., et al., and pending in the United States Bankruptcy
Court, District of Delaware, under Case No. 22-11068 (JTD) (Jointly Administered), which claims are described more fully (i) in
Claim No. 51676 (Customer Claim Confirmation ID No. 3265-70-WGSKX-157134689, 3265-70-TCGLE-717761447) and (ii)
identified on the FTX Trading Ltd. Amended Customer Claim Schedule F-1 ((i) and (ii), collectively, the “Claim”).

          Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of Bankruptcy
Procedure, and stipulates that an order may be entered recognizing this transfer and sale of the Claim as an unconditional
assignment and sale and Buyer herein as the valid owner of the Claim. You are hereby requested to make all future payments
and distributions, and to give all notices and other communications, in respect to the Claim to Buyer.
IN WITNESS WHEREOF, dated as of the 25th day of February 2024.

SELLER:




BUYER:

117 Partners LLC




By:
Name: Thomas Braziel
Title: Managing General Partner




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                                                   Identity of Transferor/Seller

Transferee/Buyer has in its possession an unredacted Transfer of Claim Other Than For Security and an executed Evidence of
Transfer of Claim.

In order to protect the identity of the Transferor/Seller, Transferee/Buyer has not disclosed the Transferor’s/Seller’s name in the
filed Transfer of Claim Other Than For Security and Evidence of Transfer of Claim.

Upon written request, Transferee/Buyer is prepared to provide a copy of the unredacted Transfer of Claim Other Than For
Security and signed Evidence of Transfer of Claim to the Bankruptcy Court, the Debtors, and related appropriate professionals.




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FTX Trading Ltd. Amended Customer Claim Schedule




Kroll Website Claim Entry




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